                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MISSOURI

ROSSANA SERRES,                             )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )       JURY TRIAL DEMANDED
                                            )
MEDICREDIT, INC.,                           )
                                            )
        Defendant.                          )

                                     COMPLAINT

        NOW COMES the Plaintiff, Rossana Serres, by and through undersigned

counsel, and for her complaint against the Defendant, Medicredit, Inc., Plaintiff

states as follows:

                       I.         PRELIMINARY STATEMENT

     1. This is an action for actual and statutory damages for violations of the Fair

        Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. ("FDCPA").

                            II.    JURISDICTION & VENUE

     2. Jurisdiction arises under 15 U.S.C. § 1692 and pursuant to 28 U.S.C. §

        1331.

     3. Venue is proper in this District in that Plaintiff resides here, Defendant

        transacts business here, and the conduct complained of occurred here.

                                    III.   PARTIES

     4. Rossana Serres ("Plaintiff") is a natural person who resides in Independence,

        Missouri.



       Case 4:20-cv-00160-HFS Document 1 Filed 03/03/20 Page 1 of 3
5. Plaintiff is a "consumer" as that term is defined by the FDCPA, 15 U.S.C. §

   1692a(3).

6. Medicredit, Inc. (“Medicredit”) is a business entity engaged in the collection

   of consumer debt within the State of Missouri.

7. Medicredit is a "debt collector" as that term is defined by the FDCPA, 15

   U.S.C. § 1692a(6).

                           IV.     ALLEGATIONS

8. Plaintiff allegedly owes a debt to Medicredit, namely a medical bill from

   Midwest Heart and Vascular, which was incurred primarily for personal,

   family, or household services; it is therefore a "debt" as that term is defined by

   the FDCPA, 15 U.S.C. § 1692a(5).

9. On or about January 3, 2019, Plaintiff retained counsel to assist in the

   resolution of several debts, including a debt serviced by Medicredit.

10. As a part of Plaintiff’s representation, on or about March 25, 2019, Plaintiff's

   counsel sent notice of representation to Plaintiff's creditors, including to

   Medicredit.

11. On or about March 29, 2019, an employee of Medicredit received and

   signed for Plaintiff's counsel's notice of representation letter.

12. Notwithstanding, Medicredit continued to contact Plaintiff directly including

   but not limited to phone calls to her personal phone.




  Case 4:20-cv-00160-HFS Document 1 Filed 03/03/20 Page 2 of 3
   13. These communications by Medicredit violated 15 U.S.C. § 1692c(a)(2), in

       that Medicredit continued to communicate with a consumer after receiving

       notice that the consumer was represented by an attorney.

                             V. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Rossana Serres respectfully prays for judgment as

follows:

       a.    All actual compensatory damages suffered pursuant to 15 U.S.C. §

             1692k(a)(1) from Medicredit and for Plaintiff;

       b.    Statutory damages of $1,000.00 pursuant to 15 U.S.C. §

             1692k(a)(2)(A) from Medicredit and for Plaintiff;

       c.    Plaintiff's attorneys' fees and costs pursuant to 15 U.S.C. §

             1692k(a)(3) from Medicredit and for Plaintiff;

       d.    Any other relief deemed appropriate by this Honorable Court.




                                          Respectfully submitted,



                                          By: /s/ Andrew M. Esselman
                                          Andrew M. Esselman #64837
                                          Credit Law Center, LLC
                                          4041 NE Lakewood Way, Suite 200
                                          Lee's Summit, MO 64064
                                          Telephone: 816-246-7800
                                          Facsimile: 855-523-6884
                                          andrewe@creditlawcenter.com
                                          Attorney for Plaintiff




      Case 4:20-cv-00160-HFS Document 1 Filed 03/03/20 Page 3 of 3
